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                          IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF NEW MEXICO




 UNITED STATES OF AMERICA,                    )
                                              )
                 Plaintiff,                   )
                                              )    CRIMINAL NO. 18-03475-WJ
        v.                                    )
                                              )
 ROBERT DUNSWORTH,                            )
                                              )
                 Defendant.                   )

     UNITED STATES’ UNOPPOSED MOTION FOR EXTENSION OF TIME
 TO RESPOND TO DEFENDANT’S MOTION FOR SUPPRESSION OF STATEMENT

       The United States of America, by and through Special Assistant U.S. Attorney Thomas

A. Outler, respectfully moves this Court for an extension of time, until June 19, 2020, to respond

to Defendant’s Motion for Suppression of Statement (Doc. 59). As grounds therefore, the United

States provides the following:

       1.       On October 23, 2018, Defendant was indicted and arrested for a violation of 18

U.S.C. § 922(g)(1) and 18 U.S.C. § 924(a)(2): Felon in Possession of a Firearm and

Ammunition.

       2.       On January 7, 2019, Defendant was arraigned on the indictment, and was ordered

to remain in the custody of the United States Marshals Service pending trial.

       3.       On March 23, 2020, Defendant filed his Motion for Suppression of Statement.

See Doc. 59.

       4.       During the original and extended response time the parties have begun discussing

a possible plea resolution of this case. Because access to in-custody clients has been impacted by
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the COVID-19 pandemic, Counsel for Defendant needs additional time to discuss a possible

resolution with Defendant.

       5.      The parties agree that there should be no further briefing on the Motion for

Suppression of Statement until Defendant’s counsel has an opportunity to discuss resolution of

this case by plea. The requested extension will not impact any case deadlines.

       6.      Counsel for Defendant does not oppose the extension of time for filing the United

States’ response.

       7.      The parties agree that the needs of justice that would be served by granting the

requested extension outweigh the best interest of the public and the defendant in a speedy trial

pursuant to 18 U.S.C. § 3161(h)(7)(A).

       WHEREFORE, the United States respectfully requests that this Court grant an extension

of time, from the current response deadline of May 25, 2020, until June 19, 2020, for the filing of

its response to Defendant’s motion.

                                                     Respectfully submitted,

                                                     JOHN C. ANDERSON
                                                     United States Attorney

                                                     /s/Thomas A. Outler
                                                     Thomas A. Outler
                                                     Special Assistant United States Attorney
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I hereby certify that on May 26, 2020, I filed the
foregoing using CM/ECF, which caused
the following parties or counsel to
be served by electronic means, as more fully reflected
on the Notice of Electronic filing:

       Ms. Irma Rivas
       Attorney for Defendant
       Irma_Rivas@fd.org

/s/ Thomas A. Outler
Assistant United States Attorney




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